            8:19-cr-00181-DCC                   Date Filed 08/01/19      Entry Number 395              Page 1 of 1



AO 455 ( Rev. 01 /09) Waiver of an Indictment


                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina

                   United States of America
                                   V.                                    CaseNo. 8:19-1 81-DCC
                     Detric Lee McGowan,
                           a/k/a "Fat"
                              Defendant


                                                   WAIVER OF AN I DICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court ofmy rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.




Date:




                                                                          Donald Co   ins United States District Court Jud e
                                                                                      Judge's printed name and title
